                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                      IN THE UNITED STATES DISTRICT COURT                         August 16, 2018
                                                                                 David J. Bradley, Clerk
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

MARANDA LYNN ODONNELL, et al.,               §
On behalf of themselves and all others       §
similarly situated,                          §
                                             §
                     Plaintiffs,             §
                                             §     CIVIL ACTION NO. H-16-1414
VS.                                          §
                                             §
HARRIS COUNTY, TEXAS, et al.,                §
                                             §
                     Defendants.             §

                                         ORDER

       Harris County moved for a protective order to quash the deposition of Harris County

Commissioner Steve Radack. (Docket Entry No. 478). The plaintiffs must respond to the motion

no later than August 22, 2018.

              SIGNED on August 16, 2018, at Houston, Texas.


                                                 ______________________________________
                                                          Lee H. Rosenthal
                                                    Chief United States District Judge
